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                          UNITED STATES DISTRICT COURT
 6
                        SOUTHERN DISTRICT OF CALIFORNIA
 7
                        HONORABLE JANIS L. SAMMARTINO
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     UNITED STATES OF AMERICA,                 )   Criminal No. 19CR4488-JLS
10                                             )
                               Plaintiff,      )   ORDER APPROVING
11                                             )   CONTINUANCE OF MOTION
     v.                                        )   HEARING CURRENTLY SET FOR
12                                             )   MAY 6, 2022 AT 2:00 P.M. AND
     MATTHEW ISAAC WOLFE (2) ,                 )   RESETTING THE MOTION
13                                             )   HEARING FOR JUNE 17, 2022 AT
                                               )   2:00 P.M.
14                            Defendants.      )
                                               )
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           Pursuant to joint motion and good cause appearing, IT IS HEREBY
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     ORDERED that the motion hearing currently set for MAY 6, 2022 at 2:00 p.m. in
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     this Court is continued and reset for JUNE 17, 2022 at 2:00 p.m. in this Court.
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           For the reasons set forth in the joint motion, IT IS FURTHERED
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     ORDERED that time is excluded under the Speedy Trial Act pursuant to Title 18
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     U.S.C. §3161(h)(7)(B)(ii).
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              IT IS SO ORDERED.
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     Dated: May 4, 2022
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             ORDER GRANTING JOINT MOTION TO CONTINUE MOTION HEARING
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                                                              19 CR 4488-JLS
